Case 3:13-cv-03068-PKH Document3 Filed 07/02/13 Page 1 of tERIE'B COURT
waene Dist ARKANSAS

JUL 02 2013

Dear U.S. District Clerk, j3-20es CHRIS R. JOHNSON, Clerk

I am David Stebbins. Please find enclosed a new complaint and in forma pauperis
application.

Clerk

Please cause this Complaint to be sent to a judge other than P.K. Holmes, and to a
magistrate judge other than James Marchewski. It has become abundantly clear that those
judges hold an animus against me because of all the lawsuits I have filed (pursuant to the
Motions to Recuse which were filed right before this new complaint got filed).

To prevent me from being further prejudiced by this animus, I ask that a judge and
magistrate judge other than those two be assigned to the case.

Thank you, and please respond promptly.
Sincerely,

ft avid Stebbins
